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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )
                        Plaintiff,                   )            8:07CR426
                                                     )
       vs.                                           )             ORDER
                                                     )
RAISHAUN LAMAR,                                      )
                                                     )
                        Defendant.                   )


       This matter is before the court on the motion of defendant Raishaun Lamar (Lamar)
for disclosure of the government’s intent to introduce other crimes, wrongs or acts as
evidence at trial (Filing No. 34). The motion is granted to the extent that pursuant to Fed.
R. Evid. 404(b), the government shall give two weeks notice of such evidence before any
trial of this matter.
       IT IS SO ORDERED.
       DATED this 14th day of January, 2008.
                                                     BY THE COURT:
                                                     s/Thomas D. Thalken
                                                     United States Magistrate Judge
